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                             SOUTHERN DISTRICT OF CALIFORNIA
    16
         Al Otro Lado, Inc., et al.,                  Case No.: 17-cv-02366-BAS-KSC
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    18                      Plaintiffs,
                                                      JOINT STATUS CONFERENCE
    19            v.                                  STATEMENT
    20   Chad F. Wolf,1 et al.,
    21
                            Defendants.
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        Acting Secretary Wolf is automatically substituted for former Acting Secretary
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       McAleenan pursuant to Fed. R. Civ. P. 25(d).
                                                      JOINT STATUS CONFERENCE STATEMENT
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                                              2      JOINT STATUS CONFERENCE STATEMENT
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     1         Pursuant to the Court’s September 11, 2020 Minute Order (Dkt. 545), the
     2   parties provide the following Joint Status Conference Statement.
     3                              JOINT STATUS REPORT
     4         A.     Pending Motions and Appellate Proceedings
     5         On November 19, 2019, Judge Bashant granted Plaintiffs’ motion for a
     6   preliminary injunction. On March 5, 2020, the Ninth Circuit denied Defendants’
     7   motion to stay the preliminary injunction ruling. See Al Otro Lado v. Wolf, 952
     8   F.3d 999 (9th Cir. 2020); Dkt. 330. A Ninth Circuit merits panel heard oral
     9   argument regarding the appeal on July 10, 2020 and took the matter under
    10   submission. On October 30, 2020, Judge Bashant entered an order granting
    11   Plaintiffs’ “Motion for Clarification of the Preliminary Injunction.” On December
    12   2, 2020, Defendants and the Executive Office for Immigration Review (EOIR)
    13   filed a Notice of Appeal from that Order.
    14         On September 4, 2020, Plaintiffs filed motions for summary judgment and
    15   to exclude Defendants’ proffered expert testimony. On the same day, Defendants
    16   filed a motion to exclude Plaintiffs’ proffered expert testimony. On September 25,
    17   2020, Defendants filed a cross-motion for summary judgment. Both parties also
    18   moved to seal portions of their motion papers. The parties submitted a Joint
    19   Statement of Undisputed Facts concerning their summary judgment motions on
    20   November 6, 2020. The parties’ motions for summary judgment, motions to
    21   exclude expert testimony, and accompanying motions to seal are pending before
    22   Judge Bashant.
    23         On September 11, 2020, the parties submitted a joint motion for
    24   determination of discovery dispute concerning Plaintiffs’ request for spoliation
    25   sanctions. That motion is currently pending.
    26         B.     Pretrial Proceedings
    27         The parties exchanged Rule 26(a)(3) disclosures and filed memoranda of
    28   contentions of fact and law on November 9, 2020. The parties held their Local
                                                 3       JOINT STATUS CONFERENCE STATEMENT
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     1   Rule 16.1(f)(4)(a) conference on November 12, 2020. On November 17, 2020,
     2   Judge Bashant issued a sua sponte order vacating the December 14, 2020 pretrial
     3   conference “[i]n light of the parties’ pending cross-Motions for Summary
     4   Judgment.” See Dkt. 627. The pretrial conference will be rescheduled “if
     5   necessary, immediately after the order on the summary judgment motions is
     6   issued.” Id. On November 24, 2020, Judge Bashant issued an order staying all
     7   other pretrial deadlines, noting that those deadlines “will be scheduled, if
     8   necessary, after the Court resolves the pending summary judgment motions.” Dkt.
     9   632. Depending on the outcome of the pending summary judgment motions, the
    10   parties may seek to amend their pretrial disclosures and memoranda of
    11   contentions of fact and law.
    12         C.     Anticipated or Potential Disputes
    13   Plaintiffs’ Position
    14         The parties are currently meeting and conferring regarding Defendants’
    15   efforts to comply with Judge Bashant’s October 30, 2020 order clarifying the
    16   scope of her November 19, 2019 preliminary injunction. See Dkt. 605. While the
    17   parties are still meeting and conferring, it appears that the parties are at an impasse
    18   on numerous aspects of implementation Id. at 25. Accordingly, Plaintiffs may
    19   file a motion to enforce the preliminary injunction and clarification order later this
    20   month.
    21   Defendants’ Position Defendants may file a motion for clarification of the
    22   meaning of certain aspects of Judge Bashant’s October 30, 2020 Order in light of
    23   the parties’ apparent disagreement on these issues.
    24         Defendants also intend to file a motion to stay the October 30, 2020 Order
    25   (ECF No. 605) pending adjudication of the government’s appeal from that Order
    26   and to seek expedited briefing and ruling on that motion.
    27   //
    28   //
                                                    4       JOINT STATUS CONFERENCE STATEMENT
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     1         D.       Settlement Efforts
     2   Plaintiffs’ Position
     3         In September 2020, Defendants declined to engage in settlement discussions
     4   on Plaintiffs’ proposed terms. Plaintiffs have not received any settlement
     5   communications from Defendants since then.
     6   Defendants’ Position
     7         Defendants cannot commit at this time to engage in settlement discussions on
     8   Plaintiffs’ proposed terms, but continue to assess whether to engage in such
     9   discussions.
    10
         Dated: December 2, 2020                    MAYER BROWN LLP
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    16                                                Rebecca Cassler

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    18                                              RIGHTS
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    19                                                 Ghita Schwarz
                                                       Angelo Guisado
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    21                                              AMERICAN IMMIGRATION
                                                    COUNCIL
    22                                                Karolina Walters
    23

    24
                                                    By: /s/ Stephen M. Medlock
                                                         Stephen M. Medlock
    25
                                                    Attorneys for Plaintiffs
    26

    27                                              JEFFREY BOSSERT CLARK
    28                                              Acting Assistant Attorney General
                                                5        JOINT STATUS CONFERENCE STATEMENT
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     2
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     3                                          Director, Office of Immigration
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                                                District Court Section
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                                            6        JOINT STATUS CONFERENCE STATEMENT
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     1                           CERTIFICATE OF SERVICE
     2         I HEREBY CERTIFY that on December 2, 2020 a copy of the foregoing joint
     3   status conference statement was served on all counsel of record via CM/ECF.
     4                                        s/Stephen M. Medlock
     5                                        Stephen M. Medlock
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                                                         JOINT STATUS CONFERENCE STATEMENT
